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                 UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF TEXAS
                        AUSTIN DIVISION


QUICKVAULT, INC.,

               Plaintiff,                      Case No.: 1:24-cv-00864

    v.

BROADCOM INC., d/b/a BROADCOM               JURY TRIAL DEMANDED
CORPORATION

               Defendant.




                      EXHIBIT M

    ’437 Patent Infringement Claim Chart
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                             EXHIBIT M: U.S. PATENT NO. 11,880,437 INFRINGEMENT CLAIM CHART1

         Claim 1                                                 Broadcom Symantec VIP

    A computer-         The preamble is presumptively not limiting. To the extent the preamble is limiting, Symantec VIP performs a
    implemented         computer-implemented method for remote data access using a user device.
    method for
    remote data
    access using a
    user device, the
    computer-
    implemented
    method
    comprising:




                        (https://www.broadcom.com/products/identity/vip)

    receiving, by a
    remote computer
    from the user
    device, an
    authentication
    request
    comprising a user
    device unique

1
  The evidence of infringement identified in the below chart is exemplary and nonlimiting. QuickVault reserves the right to rely on
additional and/or alternative aspects of Symantec VIP and related components during this litigation for the purpose of establishing
infringement.
                                                                       1
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     Claim 1                                              Broadcom Symantec VIP
identifier and a
mobile
authentication
device unique
identifier,




                   (https://docs.broadcom.com/doc/symantec-vip)




                                                                  2
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Claim 1                                       Broadcom Symantec VIP




          (https://www.youtube.com/watch?v=SdY13B5mExI (5:47))




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Claim 1                                       Broadcom Symantec VIP




          (https://www.youtube.com/watch?v=SdY13B5mExI (1:33))




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Claim 1                                       Broadcom Symantec VIP




          (https://www.youtube.com/watch?v=SdY13B5mExI (3:30))




                                                    5
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    Claim 1                                            Broadcom Symantec VIP

wherein the
mobile
authentication
device unique
identifier is
provided to the
user device from
a mobile
authentication
device, and




                   (https://www.youtube.com/watch?v=SdY13B5mExI (1:33))




                                                             6
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    Claim 1                                                    Broadcom Symantec VIP




                    (https://www.youtube.com/watch?v=SdY13B5mExI (3:30))

wherein the         The mobile authentication device and the user device are associated with a software license to at least
mobile              Symantec VIP stored on the remote computer.
authentication
device and the
user device are
associated with a
software license
stored on the
remote computer;




                                                                     7
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    Claim 1                                                 Broadcom Symantec VIP




                     (https://www.broadcom.com/products/identity/vip)

determining, by
the remote
computer, that the
user device is
authorized for use
with the software
license by
determining that
the user device      (https://docs.broadcom.com/doc/symantec-vip)
unique identifier
is valid in
combination with
the software
license stored on
the remote
computer;


                                                                    8
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Claim 1                                       Broadcom Symantec VIP




          (https://www.youtube.com/watch?v=SdY13B5mExI (5:47))




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    Claim 1                                              Broadcom Symantec VIP

upon determining,
by the remote
computer, that the
user device is
authorized for use
with the software
license,
transmitting, by
the remote
computer to the
user device, a
validation
message
associated with
the user device;
and




                     (https://www.youtube.com/watch?v=SdY13B5mExI (2:35))




                                                              10
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Claim 1                                       Broadcom Symantec VIP




          (https://www.youtube.com/watch?v=SdY13B5mExI (2:39))




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    Claim 1                                             Broadcom Symantec VIP

responsive to
transmitting the
validation
message,
transmitting, by
the remote
computer, data to
the user device.




                    (https://www.youtube.com/watch?v=SdY13B5mExI (2:45))




                                                             12
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Claim 1                                       Broadcom Symantec VIP




          (https://www.youtube.com/watch?v=SdY13B5mExI (2:54))




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